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                                                                          5                         UNITED STATES DISTRICT COURT
                                                                          6                       NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              In Re: Cathode Ray Tube (CRT)      )         Case No. 07-5944 SC
                                                                          8   Antitrust Litigation               )
                                                                                                                 )         ORDER CORRECTING
                                                                          9   ___________________________________)         CLERICAL ERROR
                                                                                                                 )
                                                                         10   CRAGO, Inc.,                       )
                                                                                                                 )
                               For the Northern District of California




                                                                         11             Plaintiff,               )
United States District Court




                                                                                                                 )
                                                                         12       v.                             )
                                                                                                                 )
                                                                         13   CHUNGHWA PICTURE TUBES, LTD., et   )
                                                                              al.,                               )
                                                                         14                                      )
                                                                                        Defendants.              )
                                                                         15                                      )
                                                                         16
                                                                         17        The Court notes that several previous Orders issued in this
                                                                         18   case contain the incorrect MDL number of 1971.          The correct MDL
                                                                         19   number is 1917.    Pursuant to Federal Rule of Civil Procedure
                                                                         20   60(a), all previous Orders containing the incorrect MDL number are
                                                                         21   hereby amended.
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                                                                         24        IT IS SO ORDERED.
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                                                                         26        Dated: March 17, 2008
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                                                                         28                                           UNITED STATES DISTRICT JUDGE
